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 1
                                UNITED STATES DISTRICT COURT
 2                              FOR THE DISTRICT OF MARYLAND
                                      SOUTHERN DIVISION
 3

 4 American Federation of Teachers, et al.,        Case No. 8:25-cv-00430-DKC

 5                Plaintiffs,

 6         vs.                                     Date:
                                                   Time:
 7 SCOTT BESSENT, in his official capacity as      Place:
   Secretary of the Treasury, et al.,              Judge: Hon. Deborah Boardman
 8
                  Defendants.
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12         [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER
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              [PROPOSED] ORDER GRANTING MOTION FOR TEMPORARY RESTRAINING ORDER
     Case 8:25-cv-00430-DLB             Document 14-2       Filed 02/12/25   Page 2 of 2



 1          Having reviewed the Complaint, briefing, and declarations submitted by the Parties, and

 2 having found that the factors set forth in Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

 3 (2008) are satisfied, it is hereby

 4          ORDERED that Plaintiffs’ Motion for Temporary Restraining Order is GRANTED.

 5          It is further ORDERED that Defendants Secretary Scott Bessent, the United States

 6 Department of the Treasury, Acting Director Charles Ezell, the United States Office of Personnel

 7 Management, Acting Secretary Denise L. Carter, and the United States Department of Education

 8 are ENJOINED from providing Department of Government Efficiency (“DOGE”)

 9 representatives, including Special Government Employees, with access to any Treasury

10 Department, Office of Personnel Management, or Department of Education systems of records

11 containing personally identifiable information and/or confidential information.

12          It is further ORDERED that Defendants are to retrieve and destroy any personally

13 identifiable information or confidential information retrieved from Defendants’ systems of

14 records, including any copies of such information and any documents created by DOGE

15 representatives from such information, that are currently in the possession of any (i) DOGE

16 representatives, including Special Government Employees, and (ii) persons who received such

17 information from DOGE representatives.

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19              SO ORDERED.

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     Dated: February ___, 2025
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               [PROPOSED] ORDER GRANTING MOTION FOR TEMPORARY RESTRAINING ORDER
